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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1626V
                                        (not to be published)


    ANDREA C. EVERHART,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: August 10, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Kimberly Wilson White, Wilson Law, P.A., Raleigh, NC, for Petitioner.

Lauren Kells U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On November 19, 2020, Andrea Everhart filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Table injury – Shoulder Injury
Related to Vaccine Administration – as a result of her June 4, 2019, tetanus diphtheria
acellular pertussis Vaccine. (Amended Petition, filed April 7, 2021, at 1). On May 4, 2022,
a decision was issued awarding compensation to Petitioner based on the Respondent’s
proffer. (ECF No. 35).

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated June 24,
2022 (ECF No. 40), requesting a total award of $21,689.72 (representing $21,073.00 in
fees and $616.72 in costs). In accordance with General Order No. 9, Petitioner filed a
signed statement indicating that she incurred no out-of-pocket expenses. (ECF No. 40-
1). Respondent reacted to the motion on July 8, 2022, indicating that “respondent does
not object to the overall amount sought, as it is not an unreasonable amount to have been
incurred for proceedings in this case to date.” (ECF No. 41). On July 8, 2022, Petitioner filed
a reply stating that “Petitioner does not intend to file a substantive Reply to Respondent’s
response other than what is contained herein.” (ECF No. 42).

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $21,689.72 (representing $21,073.00 in fees and $616.72 in costs) as a
lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel. In
the absence of a timely-filed motion for review (see Appendix B to the Rules of the Court),
the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
